Case 2:22-cv-00293-JRG Document 94 Filed 07/13/23 Page 1 of 7 PageID #: 6217




                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

NETLIST, INC.,                            )
                                          )
               Plaintiff,                 )
                                          )    Case No. 2:22-cv-293-JRG
       vs.                                )
                                          )    JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO, LTD;              )    (Lead Case)
SAMSUNG ELECTRONICS AMERICA,              )
INC.; SAMSUNG SEMICONDUCTOR               )
INC.,                                     )
                                          )
               Defendants.                )

NETLIST, INC.,                  )
                                )
          Plaintiff,            )
                                )
                                               Case No. 2:22-cv-294-JRG
     vs.                        )
                                )
                                               JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC.; MICRON )
SEMICONDUCTOR PRODUCTS, INC.; )
MICRON TECHNOLOGY TEXAS LLC, )
                                )
          Defendants.           )
                                )


           JOINT 4-3 CLAIM CONSTRUCTION AND PREHEARING STATEMENT

       Pursuant to Local P.R. 4-3 and the Court’s Docket Control Order (Dkt. 66), Plaintiff

Netlist, Inc. (“Netlist”) and Defendants Samsung Electronics Co., Ltd., Samsung Electronics

America, Inc., and Samsung Semiconductor Inc. (collectively “Samsung”) and Micron

Technology Inc. (“Micron Technology”), Micron Semiconductor Products, Inc. (“Micron

Semiconductor”), and Micron Technology Texas, LLC (“Micron Texas”) (collectively, “Micron”)

submit this Joint Claim Construction and Prehearing Statement with regard to the following

patents:
Case 2:22-cv-00293-JRG Document 94 Filed 07/13/23 Page 2 of 7 PageID #: 6218




         U.S. Pat. No 7,619,912 (the “’912 patent”);

         U.S. Pat. No 9,858,215 (the “’215 patent”);

         U.S. Pat. No 11,093,417 (the “’417 patent”); and

         U.S. Pat. No 10,268,608 (the “’608 patent”).1

I.       P.R. 4-3(a)(1): Agreed Constructions
         A. ’912 patent

         N/A.

         B. ’215 patent

 Claim(s)                 Term                                     Agreed Construction
 1                        “A memory module operable in a       The preamble is limiting.
                          computer system to communicate
                          data with a memory controller of the
                          computer system via a memory bus in
                          response to memory commands
                          received from the memory controller,
                          the memory commands including a
                          first memory command and a
                          subsequent second memory
                          command, the first memory
                          command to cause the memory
                          module to receive or output a first
                          data burst and the second memory
                          command to cause the memory
                          module to receive or output a second
                          data burst, the memory module
                          comprising”
 21                       “A method of operating a memory          The preamble is limiting.
                          module coupled to a memory
                          controller via a memory bus, the
                          memory module comprising memory

     1
   Herein, Samsung does not identify any proposed constructions or extrinsic evidence for U.S.
Patent No. 10,268,608 (“the ’608 patent”) because the patent is not asserted in Netlist’s operative
complaint in this action. The Court has not ruled on Netlist’s motion to amend its complaint to
add the ’608 patent, which Samsung opposes. Dkt. 62. Samsung objects to Netlist’s
identification of terms for a patent that has not been added to the case. Samsung reserves the
right to identify proposed terms for constructions, preliminary constructions, and extrinsic
evidence if the ’608 patent is permitted to be added to the case in the future.
                                               -2-
Case 2:22-cv-00293-JRG Document 94 Filed 07/13/23 Page 3 of 7 PageID #: 6219




    Claim(s)               Term                                        Agreed Construction
                           integrated circuits arranged in ranks
                           and mounted on a printed circuit
                           board having a plurality of edge
                           connections coupled to the memory
                           bus, the memory integrated circuits
                           including at least one first memory
                           integrated circuit in a first rank and at
                           least one second memory integrated
                           circuit in a second rank, the method
                           comprising”



         C. ’417 patent

    Claim(s)               Term                                        Agreed Construction
    1                      “A memory module operable in a       The preamble is limiting.
                           computer system to communicate
                           data with a memory controller of the
                           computer system via a N-bit wide
                           data bus in response to memory
                           commands received from the memory
                           controller, the memory bus including
                           address and control signal lines and
                           data signal lines, the memory module
                           comprising”



         D. ’608 patent2

         N/A.


II.      P.R. 4-3(a)(2): Disputed Terms

         Exhibits A, B and C attached hereto contain respectively, Netlist, Samsung and Micron’s

proposed constructions for each disputed term, phrase, or clause together with the intrinsic and

extrinsic evidence that the parties contend support their proposed constructions.

III.     P.R. 4-3(a)(3): Anticipated Length of Time for the Claim Construction Hearing


2
         Asserted against Samsung only.
                                                 -3-
Case 2:22-cv-00293-JRG Document 94 Filed 07/13/23 Page 4 of 7 PageID #: 6220




        The parties agree and expect that 3 hours will provide sufficient time to conduct the claim

construction hearing.

IV.     P.R. 4-3(a)(4): Anticipated Witnesses at the Claim Construction Hearing

        The parties may present testimony from the parties’ experts opining on claim construction

issues in the form of written declarations and/or deposition testimony, to aid the Court in making

its findings.

V.      P.R. 4-3(a)(5): Other Issues to be Addressed at the Claim Construction Hearing

        Currently, the parties do not believe that there are any other issues that might be

appropriately addressed at a prehearing conference prior to the claim construction hearing.



Dated: July 13, 2023                             Respectfully submitted,

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                                               -4-
Case 2:22-cv-00293-JRG Document 94 Filed 07/13/23 Page 5 of 7 PageID #: 6221




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                                    -5-
Case 2:22-cv-00293-JRG Document 94 Filed 07/13/23 Page 6 of 7 PageID #: 6222




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                                    -6-
Case 2:22-cv-00293-JRG Document 94 Filed 07/13/23 Page 7 of 7 PageID #: 6223




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                                  CERTIFICATE OF SERVICE

          I hereby certify that, July 13, 2023, a copy of the foregoing was served to all counsel of

record.

                                                       /s/ Yanan Zhao
                                                       Yanan Zhao




                                                 -7-
